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                                   6                                  UNITED STATES DISTRICT COURT

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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                  10     EASTON STOKES,
                                  11                    Plaintiff,                           No. C 19-04613 WHA

                                  12             v.
Northern District of California
 United States District Court




                                  13     UNITED STATES DEPARTMENT OF                         ORDER REQUESTING MORE
                                         JUSTICE, et al.,                                    INFORMATION
                                  14
                                                        Defendants.
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                                  16

                                  17    All counsel shall file answers to the following questions by NOON THURSDAY JULY 29:

                                  18   1. As the Court reads the Kaiser records on plaintiff, there is no reference to Section 5150 or to

                                  19      any 72-hour hold. And in fact, there is an affirmative reference to plaintiff being “advised

                                  20      not to not attend school tomorrow” (Dkt. No. 79 at 5), and a reference to “IOP Screening

                                  21      3/12/02” (id. at 10), which the Court presumes means intensive outpatient screening. Please

                                  22      state whether plaintiff was, in fact, detained for 72 hours under Section 5150 versus whether

                                  23      he was evaluated and allowed by Kaiser to return home with prescriptions. Please cite to and

                                  24      refer to every reference in the Kaiser records (or any other records) referring to Section 5150,

                                  25      a 72-hour hold, a hold of any type, or anything else that would indicate plaintiff was ever

                                  26      held by Kaiser under Section 5150.

                                  27   2. Under the California scheme used by Sonoma County in 2002, when a patient voluntarily

                                  28      accepted a commitment, how was it documented? If a patient voluntarily accepted a 14-day
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                                   1      hold for intensive psychiatric treatment, was that nevertheless documented as a Section 5250

                                   2      hold? If not, how was it documented or supposed to be documented?

                                   3   3. Please supply the filled-out form used to report plaintiff to the California DOJ. It appears

                                   4      that the form should have been called “Mental Health Facilities Report of Firearm

                                   5      Prohibition Form 4009A,” according to a California DOJ, Division of Law Enforcement,

                                   6      Information Bulletin, dated May 22, 2007 (attached to this order). The California DOJ shall

                                   7      produce this form as it pertained to plaintiff.

                                   8   4. Section 5252 prescribed a notice of certification. All parties shall supply the specific version

                                   9      of that form as filled out in 2002 for plaintiff.

                                  10   5. Did it make any difference in terms of who paid for his treatment (or for funding for the

                                  11      facility) whether the treatment was documented as a Section 5150 or Section 5250?

                                  12
Northern District of California
 United States District Court




                                  13          IT IS SO ORDERED.

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                                  15    Dated: July 26, 2021

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                                                                                                WILLIAM ALSUP
                                  18                                                            UNITED STATES DISTRICT JUDGE
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